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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AMERICANS FOR FAIR TREATMENT,

Plaintiff, No. 1:22-cv-01183-RCL

Vv.
UNITED STATES POSTAL SERVICE, et al., [PROPOSED] ORDER

Defendants.

AND NOW, this yor day of Afyyak , 2024, upon consideration of Plaintiffs
Consent Motion to Stay Briefing Schedule and Require Status Report, IT IS HEREBY
ORDERED that Plaintiff's Motion is GRANTED. The summary judgment briefing

schedule entered by the Court on July 18, 2024 is stayed. The parties shall submit a

joint status report by September 30, 2024.

BY THE COURT:

“Gea fatdK

Hon. Royce C. Lamberth
U.S. District Court Judge

